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IN THE UNITED STATES DISTRICT COURT 575/1 _ /;/,_
FOR THE WESTERN DISTRICT OF TENNESSEE dr /gp [“"’»

EASTERN DIvIsioN gin / 9 "' /-'35
v [ “
lid/fle {O"‘ 080/f

JACOB RHODES, a minor, by and
through his parent, DIANA RAY
MOORE,

Plaintiff,
VS. No. 04-1191~T

SUSAN WALLACE, et al.,

`_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/

Defendants.

 

ORDER DENYING MOTION TO CONSOLIDATE

 

Plaintiffs have moved to consolidate this action With four other cases pending before
the court2 Mooney v. Wallace, civil action number 04-1 190-T-P, Robbins v. Wallace, civil
action number 04-1294~T-P, Dyer v. Wallace, civil action number 05-1004-T-P, and
Rhodes v. Wallace, civil action number 05-1020-T-P.] According to Plaintiffs, these five
cases "involve common questions of law and fact, relate to the same circumstances, plead
the same causes of action, and involve the same defendants.” Plaintiffs’ Memo. at p. l.
Defendants have responded to the motion and oppose consolidation For the reasons set
forth below, Plaintiffs’ motion to consolidate is DENIED.

Federal Rule of Civil Procedure 42(a) provides that,

 

l The parties have agreed to consolidate the cases for the limited purpose of discovery.

This document entered on the docket sheet ln compliance
with Hula 58 and.'or_79 {a) FRCP on 5

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[W]hen actions involving a common question of law or fact are pending before

the court, it may order a joint hearing or trial of any or all of the matters in

issue in the actions; it may order all the actions consolidated; and it may make

such orders concerning proceedings therein as may tend to avoid unnecessary

costs or delay.
Fed. R. Civ. P. 42(a). Rule 42(a) grants the district court discretion in determining whether
to consolidate actions in order “to administer the court's business ‘With expedition and
economy While providing justice to the parties.”’ Advey v. Celotex Co;p., 962 F.Zd 1177,
1180 (6lh Cir. 1992) (quoting 9 Wright & Miller, Federal Practice and Procedure § 2381
(1971)). Cases should be consolidated only if the risks of prejudice and confusion are
outweighed by other factors including “the risk of inconsistent adjudications of common
factual and legal issues, the burden on parties, Witnesses and available judicial resources....”

irenan v. Raybestos-Manhaaan, Inc., 776 F.2d 1492, 1495 (11Lh cir. 1985) (qu@ting Amold

v. Eastern Air Lines Inc., 681 F.Zd 186, 193 (4“‘ Cir.1982), cert denied, 464 U.S. 1040

 

(1984))_

[T]he mere fact that a common question is present, and that consolidation is
therefore permissible under Rule 42(a), does not mean that the trial court
judge must order consolidation There are many reasons Why a district court
judge may deny a request for the consolidation of separate cases. For example
if consolidation Will lead to confusion or prejudice in the management
of the trial of the case.

9 Wright & Miller, F ederal Practz'ce and Procedure (1995).
Here, although the actions involve some common questions of law and fact, the abuse

allegedly inflicted by Defendant Wallace on each minor plaintiff2 varies in type, length of

 

2 The minor plaintiffs were special education students in Defendant Wallace’s classroom. Defeudant
Wallace allegedly subjected each minor plaintiffs to various forms of abuse.

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time, and severity. Plaintiffs acknowledge that the cases are "factually intense." Plaintiffs
Memo. at p. 3. While Plaintiffs are correct that having five Separate trials will be more
time-consuming, costly, and burdensome for the common witnesses and attorneys, the
potential of prejudice to Defendants outweighs this concern. Each case is based on What
allegedly happened to each individual child, and the trier of fact must determine whether
Plaintiffs have proven those allegations as to each child. If the cases are tried together, a
verdict could potentially be a product of confusion and prejudice based on the cumulative
evidence
Because the risks of confusion and prejudice to Defendants outweigh any benefits if
the cases are consolidated, Plaintiffs’ motion to consolidate is DENIED.

IT IS SO ORDERED.

JA D. TODD
UN D STATES DISTRICT JUDGE

/Q/NZM

DATE 0

 

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Honorable J ames Todd
US DISTRICT COURT

